12¢'16) Ccmplaint for Violati.cn of (.`ivil Rights (Prisoner)

  

UNITED STATES DISTRICT COURT
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§§ ég tzi\_.. Division

Case No. M `\XL©(D\

-(to heftiled in by the Clerk’s Oj”rce)

 

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(Wrt`te rhefnl'l nance ofeach plaintiffwho isftt`ing this complaint
lf the names ofall` the plaintiffs canno:_fit in the space above,
please write "see attached " in the space and attach an additional
page with thean list ofnames.)

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(Write ahean name of each defendant who is being sned_ lfthe
names ofall the defendants caitnotfzt in the space above, please
write “see attached " in tire space and attach an additional page
with fibean list qfnames. Do not include addresses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Cornplaint)

 

NOTICE

Federal Rules of Civil Procedure 5,2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a rninor', or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or Witness statements, or any
other materials to the Clerk’s Oftice with this complaint

ln order for your complaint to be ftlcd, it must be accompanied by the filing fee or an application to proceed in
forma pauperis

 

 

 

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Prc Se 14 (Rev. 12/16) Compiaint for Violation of Civil Rjghts (Piisoner)
I. The Parties to This Complaint

A. The Plaintiff(S)

Provide the information below for each plaintiff named in the complaint Attach additional pages if
needed

Name [W.§ \7/ ‘_Q_tq£ /(/§i) I/

All other names by which

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you have been known @ 70&7/`-2 /OO
lD Number w wi n &`l/\__Q¢`H HA~J @’qé’q'j ©L(Ll/)U
Cui'rent Institution
Address Mc/SA NC 2 z_é f 0

The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization or a corporation Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant include
the person’ s job or title (ifknown) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No 1 M'/'/\ €WLUC W ?CZ'M¢Q£’)}»»
Name . - 3 gi W‘ MJ§M_. g‘f’
10b or Title (,-fknown) ' ` j *' ' -- fe ~

shieid Number g¢léu§/( /VLC j ZZQ'OS_

Employer
Address

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ii Ci`!J’_ j j State __ ii Zi'p aside
|:| lndividual capacity |:| Official capacity

DefendamNo.z S/L{/, !£7£ ,£€r</»%’:j; L'f l/cfZ/t l’l/{cx>r€

Name \47¢,{ ,<5.{

Job or Title (i'fknown) ?él¢,-'_ aQ;'_D€ }A?C)Cf’_ _¢’ éM/Ljy

Shield Number M _ j

Employer ‘ _ _ j _ j

Address _ m j _ j j j _ j _ _
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|:| Individual capacity |:I Official capacity

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II.

Defendant No. 3
Name
Job or Title (ifknown)
Shield Number
Employer
Address

TCiry ' §me ' '_' Zip C<§dé
|:| Individual capacity |:| Ofticial capacity

Defendant No. 4
Name
Job or Title (1'fknown)
Shield Number
Employer
Address

Cr`t); - _ 7 jaffe Zr'la Cor|'e
E Individual capacity |:| Official capacity

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation cf any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Sc'x Unknown Named Agents of

Federal Bureau ochtrcr)tics, 403 U.S. 388 (1971), you may Sue federal officials for the violation of certain
constitutional rights.

A.

C.

Are you bringing suit against (check atl that app!y):
|:] Federal officials (a Bivens claim)

MState or local officials (a § 1983 claim)

Secticn 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what

    
 

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a/Maof rvpj acr,€$` . ~
Plaintiffs s ng under Bivens may only recover for the violation of certain constitutional rights lf you
are suing under Bt`vens, what constitutional right(s) do you claim is/are being violated by federal

official’s¢’%
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III.

IV.

Section 1983 allows defendants to be found liable only when they have acted “under color of any
statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
42 U. S. C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
of state or local law. If you are suing under Bivens, explain how each defenda t acted under color of

federal law Attach additionalpa es rf needed C`[t_
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Prisoner Status

Indicate whether you are a prisoner or other confined person as follows (check ali that apply):

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|:|
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|:|

Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner

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Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details Such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph Attach additional pages if needed.

A.

B.

If the events iving rise to your cg£:)se o tsi e ap institution, describe where and when they arose.
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If the events giving rise to your claim arose in an institution, describe where and when they arose.

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C. What date and approximate time did the events giving rise to your claim(s) occur?
il
D. What are the facts underlying your claim(s)? (For example What happened to you? Who did what?
Was anyone else involved? Who else Saw what happened?)
\ t
V. Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatrnent, if any, you required and did o did not receive.

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VI. Relief
State briefly what you want the court to do for you. Make no legal arguments Do not cite any cases or statutes

If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

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VII.

Exhaustion of Administrative Rernedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § l99'7e(a), requires that “[n]o action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federai law, by a prisoner confined

in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Adrninistrative remedies are also known as grievance procedures Your case may be dismissed if you have not
exhausted your administrative remedies

A.

Did y claim(s) arise while you were confined in a jail, prison, or other correctional facility?
Yes

ENo

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

Yes

|:|No

|:| Do not know

Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose

cover so e or all of your claims?
§§

|:l No
|:| Do not know

If yes, which claim(s)?

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D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose

concerni g the facts relating to this complaint?

|:|No

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

\:| Yes 1
|:| No -

E. If you did file a grievance:

l. Where did you file the grievance?

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2 What did you claim rn your grievance?j

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3. What was the result, if any?

4. What steps, if any:l did you take to appeal that decision? Is the grievance process completed? If
not explain why not. (Describe all reform to appeal to the highest level of the grievance process.)

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F. If you did not file a grievance:

l. If there are any reasons why you did riot file a grievance, state them here:

2. lf you did not file a grievance but you did inform officials of your claim, state who you infomied,
when and how, and their response, if any:

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

(Note.' Yott may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VIII. Previous Lawsuits
The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

m Yes

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If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible

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A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

|:| Yes

ga

B. lf your answer to A is yes, describe each lawsuit by answering questions l through 7 below. (lfthet'e is
more than one lawsuit describe the additional lawsuits on another page, using the same format )

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

|:| Yes
l:l No

lf no, give the approximate date of disposition

7. What was the result of the case? (For examples Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

C. Have you filed other lawsuits in state or federal court otherwise relating to the conditions of` your
imprisonment?

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|:| Yes

szNo

D. If your answer to C is yes, describe each lawsuit by answering questions l through 7 below. (lfthere is
more than one lawsttit, describe the additional lawsuits on another page, using the sameformat.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (if federal court, name the district,' ifstate coitrt, name the county and State)

3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

|:| Yes
|:| No

If no, give the approximate date of disposition

7. What was the result of the case? (For examples Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

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lX. Certii'ication and Closing

Under F ederal Rule of Civil Procedure ll, by signing below, l certify to the best of my knowledge, information,
and belief that this complaint: (l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements ofRule ll.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. l understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 71 §/__[ 3

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Printed Name of Plaintiff ms j <j/- ~S_A'{¢’ /C"/_S) ariz _-

Prison Identification #

Prison Address /D@@ 2k2 Q_£LA/ni leafj

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm
Address

Telephone Number
E-mail Address

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